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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------
                                                          :   Chapter 15
 In re:                                                   :
                                                          :   Case No. 19-_______ (___)
 PINNACLE GLOBAL PARTNERS                                 :
 FUND I LTD. (in Official Liquidation)                    :
                                                          :
                            Debtor in a                   :
                            Foreign                       :
                            Proceeding.
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   DECLARATION OF WARREN E. GLUCK IN SUPPORT OF RECOGNITION OF
  FOREIGN INSOLVENCY PROCEEDING AND APPLICATION FOR ADDITIONAL
      RELIEF PURSUANT TO CHAPTER 15 OF THE BANKRUPTCY CODE

I, Warren E. Gluck, declare as follows:

        1.       I am an attorney at Holland & Knight LLP, counsel for Andrew Morrison, David

Griffin and John Batchelor, the duly appointed joint official liquidators and foreign representatives

(“Liquidators” or “Petitioners”) of Pinnacle Global Partners Fund I Ltd. (in Official Liquidation)

(the “Pinnacle Fund”), a Cayman Islands mutual fund in liquidation under the supervision of the

Grand Court of the Cayman Islands (the “Cayman Court”), Cause No. FSD 231 of 2018 (RPJ)

(the “Cayman Liquidation”), pursuant to the Cayman Islands Companies Law (2018 Revision)

(the “Cayman Companies Law”), and am duly admitted to practice before the United States

District Court for the Southern District of New York.

        2.       I respectfully submit this declaration in support of the Liquidators’ Official Form

Petition and Verified Petition (together, the “Petition”), requesting entry of an order pursuant to

chapter 15 of title 11 of the United States Code, 11 U.S.C. § 101 et seq. (the “Bankruptcy Code”).

        3.       As set forthin the Petition, the Liquidators seek, inter alia, an order authorizing

discovery pursuant to 11 U.S.C. § 1521(a)(4) so that the Liquidators can access information
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relating to: (1) the books and records and other financial documents of the Pinnacle Fund

concerning the valuation, assets and liabilities of the Pinnacle Fund, which are held by Pinnacle

Global Partners LLC (“Pinnacle LLC”), the New York-based co-investment manager of the

Pinnacle Fund, which Pinnacle LLC has refused to produce in the Cayman Liquidation; (2) U.S.

dollar-denominated and foreign currency wire and fund transfers from Citibank N.A.

(“Citibank”), which: (1) holds or held an account for Pinnacle LLC to which the Pinnacle Fund

may have sent approximately $6 million between 2016 and 2017 (the “Citibank Account”); and

(2) holds or held an account for Sam Halim, the sole executive director of the Pinnacle Fund, which

received a $200,000 payment in 2015; and (3) United States dollar-denominated and foreign

currency wire and fund transfers maintained by correspondent or intermediary banks (collectively,

the “New York Banks”) located in the Southern District of New York (the “District”) involving

the Pinnacle Fund and its sole shareholder and co-manager Pinnacle Equity, and Pinnacle LLC, as

well as their investors, directors, managers, counterparties and lenders (collectively, the

“Discovery Subjects”), so as to ascertain information concerning the Pinnacle Fund’s assets prior

to the commencement of the Cayman Liquidation, as well as claims against Halim and Pinnacle

LLC, as discussed further below.

       4.      Also as set forth in the Petition, the Liquidators seek information concerning

previously executed wire transfers only and historical account statements.

       5.      I submit this declaration to provide the Court with information relevant to New

York Banks, from which discovery is sought, and an understanding of United States dollar-

denominated fund-transfer systems.

       6.      In addition to Citibank, the New York Banks found in this District from which

discovery is sought in the Petition are: (i) The Bank of New York Mellon; (ii) Société Générale;




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(iii) HSBC Bank USA, N.A.; (iv) BNP Paribas USA; (v) JPMorgan Chase Bank, N.A.; (vi)

Deutsche Bank Trust Co. Americas; (vii) UBS AG; (viii) Bank of America, N.A.; (ix) Standard

Chartered; (x) The Bank Of China; and (xi) Commerzbank AG.

        7.       Additionally, to the best of my knowledge, information, and belief, and based on

my experience in obtaining bank account, loan, and United States dollar-denominated, and in some

cases foreign currency-denominated, wire transfer records in numerous cases, the New York

Banks act as correspondent or intermediary banks for United States dollar-denominated, and in

some cases foreign currency-denominated, wire transfers passing from domestic banks to

international banks, and vice versa. Most of the New York Banks are participants in the Clearing

House Interbank Payments System (“CHIPS”), which is the largest private sector United States

Dollar-denominated fund transfer in the world, or a major participant in the clearing of

international United States Dollar-denominated wire transfers. According to the Federal Reserve

Bank of New York, the average daily value of CHIPS transactions is $1.2 trillion.1

        8.       The New York Banks keep electronic records of United States dollar-denominated

fund transfers, and some foreign currency transactions, and are thus able to easily search and

produce these records. In fact, they have done so in response to hundreds of subpoenas I have

executed in connection with numerous domestic civil litigations, 28 U.S.C. § 1782 requests for

discovery in foreign country proceedings, and Chapter 15 petitions such as this. Importantly, no

such bank has objected to the discovery sought and no objection is contemplated here.

        9.       In this case, the Liquidators have strong reason to believe that the Pinnacle Fund

made numerous U.S.-dollar denominated wire-transfers, including to accounts in the United States.

First, the Pinnacle Fund likely remitted via wire transfer the roughly $6 million in total payments


1
 See Federal Reserve Bank of New York, CHIPS, available at:
https://www.newyorkfed.org/aboutthefed/fedpoint/fed36.html (last visited May 9, 2019).


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to the Pinnacle LLC account at Citibank in New York. For instance, between January 2016 and

January 2017, bank records obtained from the originating bank show that the Pinnacle Fund

transferred more than $1.6 million from an account in Switzerland to the Citibank Account. In

addition, the Pinnacle Fund transferred further payments totaling (i) $2.2 million to a Canadian

bank account held by Pinnacle LLC and/or Pinnacle Equity; and (ii) $2.5 million to unknown

accounts (and possibly the Citibank Account) held by Pinnacle LLC and/or Pinnacle Equity.

           10.      Second, most, if not all of the material transactions at issue in the Cayman

Liquidation, such as the investment in the Hong Kong Shares and the Securities Transactions

occurred in U.S. Dollars.2 Third, the defaulted loans that precipitated the Winding-Up Petition (as

defined in the Petition) in the Cayman Islands were issued in U.S. Dollars.

           11.      Broadly speaking, the requested pre-litigation discovery relates to the Liquidators’

need to conduct further examination of myriad suspicious transfers, transactions and phantom

assets intertwined with the alleged investments of the Pinnacle Fund prior to commencement of

the Cayman Liquidation. As such transfers were effected via United States dollar-denominated

wire transfers, including unquestionably the transfers to the Citibank Account, discovery as to the

nature and propriety of the Pinnacle Fund’s United States dollar-denominated transactions is

critical to the Liquidators’ investigation and to the Liquidators’ ability to obtain a recovery for the

Pinnacle Fund’s creditors and investors.

           12.      Ultimately, the evidence sought in this request for discovery under 11 U.S.C. §

1521(a)(4) will be instrumental and serve the following purposes, all of which are directly germane

and in support of the Cayman Liquidation and its goal of:




2
    All capitalized otherwise not otherwise defined have the meanings set forth in the Petition.


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      (i)     acquiring the Pinnacle Fund’s books and records from Pinnacle LLC and Halim in

              order to understand the causes of the Pinnacle Fund’s insolvency and asset

              position, and to tracing the flow of funds among the Pinnacle Fund, its principals,

              managers, shareholder and unaffiliated counterparties – if such counterparties

              existed;

      (ii)    determining the rationale and timing for the potential transfers of the roughly $6

              million from the Pinnacle Fund to the Citibank Account, and whether the transfer

              is evidence of illegality that could justify third-party claims against Pinnacle LLC,

              and/or Halim and Chapler;

      (iii)   pinpointing the beneficiaries of the Perlen Loans and Nerthington Loan;

      (iv)    analyzing the flow of funds from the Pinnacle Fund to facilitate the purported

              Securities Transactions and purchase and trading of the Hong Kong Shares,

              including transfers by and among brokers, attorneys, lenders and other alleged

              counterparties;

      (v)     obtaining evidence supporting or refuting the transactions related to the purported

              Brazilian lumber assets and carbon credits;

      (vi)    determining ownership of Ironshore Investments Ltd.;

      (vii)   ascertaining the existence, as well as the current location, of any funds transferred

              between the Pinnacle Fund, Pinnacle Equity, Pinnacle LLC and its principals and

              managers (in addition to the transfers to the Citibank Account and Halim’s Citibank

              account);




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       (viii)   finding evidence of any self-dealing, fraud, fraudulent transfer and breaches of

                fiduciary duties by any Discovery Subjects in connection with management of the

                Pinnacle Fund;

       (ix)     determining where and with what entities to conduct further investigation;

       (x)      supporting allegations to add defendants in subsequent proceedings in the Cayman

                Islands and elsewhere; and

       (xi)     locating the Pinnacle Fund’s and the Discovery Subjects’ bank accounts, assets and

                relevant counterparties.

       13.      Attached hereto as Exhibit A is the order authorizing intermediary bank discovery

in a Cayman Islands liquidation pursuant to Chapter 15 in the matter of In re Platinum Partners

Value Arbitrage Fund LP, 16-12925 (SCC) (Bankr. S.D.N.Y. 2016).

       14.      Attached hereto as Exhibit B is the order authorizing intermediary bank discovery

and related relief in a Cayman Islands liquidation pursuant to Chapter 15 in the matter of In re

HiTs Africa, No. 18-11822-mew (Bankr. S.D.N.Y.).

       15.      Attached hereto as Exhibit C is the order authorizing intermediary bank discovery

related relief in a Cayman Islands liquidation pursuant to Chapter 15 in the matter of In re Niton

Fund SPC, 15-13252 (SMB) (Bankr. S.D.N.Y. 2016).

       16.      Attached hereto as Exhibit D is the order recognizing as a main proceeding and

authorizing highly similar discovery in respect of a British Virgin Islands company liquidation in

the case of In re Lawndale Grp. S.A., No. 15-11352 (SCC) (Bankr. S.D.N.Y. July 6, 2015).

       17.      Attached hereto as Exhibit E is the order authorizing discovery in a Cayman Islands

liquidation proceeding pursuant to Chapter 15 in In re Ardent Harmony Fund Inc., No. 16-12282

(Bankr. S.D.N.Y. 2016).




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          18.    Attached hereto as Exhibit F is the order authorizing highly similar discovery

 pursuant to Chapter 15 inthe cast of In re Pioneer Freight Futures Co. Ltd,Flo. 13-12324 (Bankr.

 S.D.N.Y. Aug. 23,2013).

          19.    Attached hereto as Exhibit G is the order recognizing as a main proceeding and

 authorizing highly similar discovery in the case of In re Farenco Shipping Co. Ltd., 11-14138

 (REG) (Bankr. S.D.N.Y. Sept. 7, 2011).

          I declare under penalty of perjury that the foregoing is true and correct.

 Dated:          New York, New York
                 May 16, 2019




                                                           Warren E. Gluck, Esq.




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